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Subject: RE: prejudice

From: Alison Kotler (akotler@Berettausa.com)
To: PWilkin@Berettausa.com:

Ge: pawski4 @yahoo.com;

Date: Monday, August 15, 2016 4:14 PM

Paul —

Jeff Reh is now investigation this situation and should be in touch with you. Thave spoken with him again a few moments ago and
he asked me to let you know.

Thanks!

Alison L. Kotler, SPHR, SHRM-SCP
Director of Human Resources

Beretta U.S.A. Corp.

17601 Beretta Drive, Accokeek, MD 20607

(T) (301) 283-2191 Ext, 1311
(F) (301) 283-5113

@ BERETTA

StF YEARS. ONE PASSION,

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From: Paul Wilkin

Sent: Monday, August 15, 2016.4:32.PM

To: Alison Kotler <akotler@Berettausa.com>
Ce: pawski4@yahoo.com

Subject: RE: prejudice

Ma’am,
I really thought I would hear from you.

Parl Wilkin
ASQ COQT,COE,CRE

Beretta U.S.A. Carp.

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1399 Gateway Dr, Gallatin TN 37066
(T) (625) 527-7822 x 1517

From: Alison Kotler

Sent: Monday, Auaonst 08, 2016 7:46 AM
To: Paul Wilkin < >
Subject: RE: prejudice

To confirm | have received your email below. Please allow me to have a few days to look into this situation fixther. | will be in touch
with you by end ofthis week.

Thanks!

Alison L. Kotler, SPHR, SHRM-SCP
Director af Human Resources

Beretta U.S.A. Corp.

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From: Paul Wilkin

Sent: Thursday, August 04, 20.16 8:18 PM:

To: Alison Kotler < >; Robin Eckers < >
Subject: prejudice

Allison,

T have repeatedly felt like Chris Tzanakos is prejudice against me, He has on multiple occasions compared me
to his ex-wife. Telling me how he could not stand to live with it. He does not give me a fair chance, he
continually side against me. Yesterday, he attempted to pull my wife into a conversation, asking me “how does
your mental problem affect your relationship with your wife?” Then continuing to tell me how it should.

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Additionally, he is holding the 5 week leave as a black mark against me. Continually referring to it. Why did
we go through this whole thing just to have my bosses hold it against me and do everything in their power to
make me want to leave?

Paul Wilkin
ASQ CQT,CQE,CRE

Beretta U.S.A. Carp.
1399 Gateway Dr, Gallatin TN 37066
(T) (615) 527-7822 x 1517

Attachments

image001.jp¢ (18.59KB)
image002.jpg (11.01KB)
image003.jpg (9.70KB)

image004.jpg (10.87KB)

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